Case 1:04-cv-01288-.]DT-STA Document 27 Filed 06/22/05 Page 1 of 3 Page|D 31

IN THE UNITED sTATEs DISTRICT CoURT 5 1
FOR THE WESTERN DISTRICT oF TENNESSEE ~/(//,/30 ' 450

 

EASTERN DIVISION ,,1 ,o,,
fi,f"<;f;':? `», y / .
ca1 -;<“fr,)p - 461
TERRETTA wEBB, i,</@~‘/' 130 1 0/ s
O/£`j/.VO_S @//: 0111;1.1
Plaintirf, civil Action No. 1-04-1288-1“/%£;;§:§
vs. JURY DEMAND
STANLEY JONES REALTY, INC., Judge Todd/Magistrate Anderson
Defendaot. 371-;’ "1[1':'; § l:":
. ., m
E.“J

 

oRDER GRANTING MoTIoN FoR WITHDRAWA£
0F coUNsEL FoR I)EFENDANT a

 

 

3 ltd ZZi£ul
liii"d/),-\%l

girl C`Jc_'_ :;
Kathleen Henderson of the firm of King & Ballow, counsel for the Defendari`tr;J has

filed a motion for withdrawal of counsel pursuant to her activation for military duty.
Mark Stamelos, also With the firm of King & Ballow and counsel for the Defendant, has
filed a notice of appearance in this matter.

For good cause shown, the motion for Withdrawal of Ms. Henderson as counsel is
hereby GRANTED and Mr. Stamelos is hereby substituted as counsel of record for the
Defendant.

lt is noted that in the motion for Withdrawal, counsel has stated that Defendant
may seek modification of the scheduling deadlines set in this matter. The scheduling
deadlines as set forth in This Court’s Rule l6(b) Joint Scheduling Order, filed on March
30, 2005, remain in effect and the parties are to adhere to such deadlines to the extent
possible lf it appears that modification of the deadlines becomes necessary, Defendant

will consult with the Plaintiff in attempt to reach mutually agreeable scheduling deadlines

This document entered on the docket shoes lr;?c§mpliance
with Flule 58 and,'or_?§ {a) FRCP on 05

Case 1:04-cv-01288-.]DT-STA Document 27 Filed 06/22/05 Page 2 of 3 Page|D 32

and file a motion With This Court seeking such modification The parties are to attempt
to reach mutually agreeable dates for scheduling where possible.

Wherefore, the motion for Withdrawal is hereby GRANTED. The Clerk of Court
is hereby ORDERED to remove Kathleen Henderson from the service list and substitute

Mark Stamelos as counsel of record for the Defendant. IT IS SO ORDERED.

£. /Z:ng-l @;&J OJ!H_
MS-D-'¥O-BD

UNITED STATES DISTRICT IUDGE

Q//M 22,1. loo§

me

DISTRI T OURT - WESTENR D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 27 in
case 1:04-CV-01288 Was distributed by f`aX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/lemphis7 TN 38120

Mark E. Stamelos
KING & BALLOW
315 Union Street
Nashville, TN 37201

Kathleen Gail Henderson
KING & BALLOW

1 100 Union Street Plaza
315 Union Street
Nashville, TN 37201

Honorable .1 ames Todd
US DISTRICT COURT

